
*1214In re Day, Linda; Gaudet, Aimee;— Plaintiff(s); Applying For Supervisory and/or Remedial Writs, Parish of Ascension, 23rd Judicial District Court Div. B, No. 91,049; to the Court of Appeal, First Circuit, No. 2012 CW 0154.
Application for reconsideration not considered. See Supreme Court Rule IX, § 6. Application for writ of mandamus denied. See La. Const. Art. V., § 2; Union Sawmill Co. v. Summit Lumber Co., 117 La. 643, 42 So. 195 (1906).
KNOLL, J. and HUGHES, J., recused.
WEIMER, J., would grant.
